ahh 2 Petia

€ Q SANDMAN ~ | on

OuNULKR Satu He > HMeTeSicuU dilU LS Ly Ik covet
want something else milled if your buddy could
do that. Idk what

Not sure

eee EEE SMM een elms ae Lan el
what he wants when ! talk to him next

el A

Icanask, Ican get Slueprints of what he wants
milled and he wants 3 can of some sort

Okay I'lt hit him up now and see exactly what it
is 80} Can qive him a solid pnce

SATURDAY, MARCH 21

2 drop in auto sears

Yes) esos
45 acp can with 5/8x24
22/5.56 can with 2x28

Peek Ba M in Bet ee Com ig eye

Let me know what price is ike

ee eo)

 

> GOVERNMENT
i EXHIBIT
:

iste

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4)

7:59 ,

€ Q DEACON ~ « &

SATURDAY, JULY &

\ You called

WEONESDAY, JULY 15

\ You called

? MINUTES AGO

When will everything ship?

>

I'll try to do it this weekend

Can you send me the dudes addy and shit
again | accidentally deleted the screenshot

° JUST NOW

Port Charlotte fl

3395

758 PM $9°57 Ieft

 

Aa TIMED MESSAGE a

ra
-'
10] @ ae oF s “ =

 

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Case 7:20-cr-00167-M Document 65-1 Filed 12/18/20 Page 3 of 16
9:26 .
a nieteyeaee a 8

€ QQ ENTREPRENEURCLU...SHOPS,NOPOPES >

+ Meand him have been in mad fights together
Kid brawis

”

Disc out here stacking the deck with his infantry
rock head friends

@ 2MINUTES AGO

Whole crew finna be knocking over armored
trucks and beating Mexicans to death at Jimmy
Johns before we know it

y s
& Deacon

Disc has definitely sacrificed the most and
contnbuted the most for the cause

Added 3 leathemecks and got us tons of gear
and training while suffering in the Corps for
years

Thanks buddy

This is the way

Disc appreciation day. Bless up fam 3. oats

926 AM SO 44 tete

Aa TIMED MESSAGE { +

© @ = GIF s we eee

 

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Butch hes using his PEQ

In all honesty unless we have supressors
the flash will give us away

Just mettc at the end of the day dictating

You ever do METT-TC’s with you squad?

Like the whole bank robbery scenario

No

We need fucking money

aL

eT vet EL ae eles fatal ot Tee PT | eae rat Pilate’!

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9:08 onl LTE
< WOTES Le) rc] 1
aes Om i

Mission - NavyFederal Branch

Enemy - Security Guards (3x confirmed), Bank
Tellers (Sx Confirmed)

Time - 0900-0275

Terrain - 1234 Branch St, Metropolitan area,
neighboring WalMart and McDonaids
Troops/Equipment Avallable- 7 Foot Mobiles,
MK-18s, PEQ/IR/NVG capability, Chest Rigs,
Flexicuffs

Civilian Considerations - Approx. number of
civilians in area during allotted time ranges
from 10-20 people

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11:10 .
@ Amazon eo

€ Q ENTREPRENEUR CLUB ~ Q

Basic Personal Loadouts {BPL)}

In accordance with the talks we had earlier,
following is a proposition for a basic individual
gear loadout that everyone will be expected to
keep and maintain.

Utilities

-Top and bottom, 2 sets, one set gray or black
and one set a relevant pattern for the terrain,
shooters choice.

Boots

-A pair of quality boots for hiking and training, in
a nondescript color.

Load Bearing Equipment

-A chest rig or belt system capable of holding
maqgs/radios/water/various other pouches for
gear

Water vessels

-Acamelback, canteen or Nalgene that is

nondescript and is compatible with the rest of
the kit. Greater than or equal to 100 ounce

capacity
Ear pro

-A set of electronic ear muffs with sounds
amplification to allow for communication during

live fire cirille racwiirinn mervament anri

 

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11:10
4 Amazon

»)
B

€ @Q@ ENTREPRENEUR CLUB ~ Res
cal pro
-A set of electronic ear muffs with sounds
amplification to allow for communication during
five fire drills requiring movement and
communication.
~Suggested:

riety WwWWw.amazon comdp/BOIAAHBCMA

r@t=crnl_ sv p an! X7rdFoVBARR4)

along with

Eye Pro
-Appropriate shooting/ballistic glasses
Weapon

-A reliable ar15, 6 mags, a cleaning kit, a reliable
Optic or iron sights, and a weapon light
Additional accessories per shooters preference
and mission requirements

Pack

-A rugged and nondescript 3 day pack to carry
gear/ammo/etc

Camping/sleep gear

-A sleeping bag with bivvy or equivalent system
(ranger roll, etc)

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+1 (508) 212-7701
Send me $30 @Liam-Collins-38

Delivered: 2/21/2020 1:07:29 AM(UTC...
2/21/2020 1:07:29 AM(UTC+0)

It's not popping up
Read: 2/21/2020 1:12:48 AM(UTC+0)
2/21/2020 1:12:38 AM(UTC+0)

+1 (508) 212-7701

image/png
IMG_0325.PNG

 

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You bringing the squares?
Read: 2/21/2020 1:29:56 AM(UTC+0)
2/21/2026 1:29:53 AM(UTC+0)

+1 (508) 212-7701
Duh

Delivered: 2/21/2020 1:29:57 AM(UTC...
2/21f2020 1:29:57 AM(UTC+0}

I'm fuckkkn pumped

Read: 2/21/2020 1:31:23 AM(UTC+0)
2/21/2020 1:30:29 AM(UTC+0)

 

Sources {1}

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Do you remember any of the
songs you were playing when we
were peaking

Read: 2/21/2020 6:42:10 PM(UTC+0)
2/21/2020 6:42:05 PM(UTC +0)

 

 

+1 (508) 212-7701
Was it brand new

Delivered: 2/21/2020 6:42:18 PM(UTC...
2/21/2020 6:42:18 PM(UTC+0)

 

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+7 (508) 212-7701

This ts going to make a very
interesting conversation for
tomorrow | can already feel rt,
eae eC Mua cet ati
untimely reach out, it would

ww

2/21f2020 9:11:08 AM(UTC +0)

 

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Delivered: 2/21/2020 10:31:34 AM(U
2/21/2020 9:17:30 AM(UTC+0)

 

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+1 (508) 212-7701

All | have to do is community
vo ate)

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Delivered: 2/13/2020 2:41:01 PM(UTC...
2/13/2020 2:40:57 PM(UTC+0)

 

EYE Lg

Read: 2/13/2020 2:44:38 PM(UTC+0)
2/13/2020 2-41:12 PM(UTC+0)

 

Sources {1)

| +1 (508) 212-7701 6d
de

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4:24 oo LTE B_

€<€ Qa DEACON ~ ea «&
earned the rignt to go on juice

© Disciple

Church
Wb Sarms?

(ol Deacon

Gay

Drugs are gay

©} Disciple

Like everyone in our crew is on sarms bro

e 50 MINUTES AGO

oS Deacon

What are you gonna do if we're on a long op or
a training mission or we get knocked and sent
to prison or a detention center and you fall
apart because you haven't had your little magic
needle in a few days?

You're making yourself dependent on a drug
dealer

It’s slavery

Oo Disciple

Thats a good point

ise Deacon

ve withdrawn cold turkey from heroin ina

Aas TIMED MeSsace Gy

oo fe s+

(oe

 

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